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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                       CASE NO. 11-62287-CIV – ZLOCH/ROSENBAUM

  RYAN GEBAUER,

         Plaintiff,

  v.

  HEATHER MANAGEMENT CORP.,
  d/b/a MANHATTAN CAFE, and
  ESPACIO MIAMI PROPERTIES, LLC,

        Defendants.
  __________________________________/

       JOINT MOTION TO APPROVE CONFIDENTIAL SETTLEMENT AGREEMENT
                     AND DISMISS ACTION WITH PREJUDICE

         Plaintiff, Ryan Gebauer, and Defendants, Espacio Miami Properties, LLC and Heather

  Management Corp. d/b/a Manhattan Café (collectively the “Parties”), by and through

  undersigned counsel, hereby jointly move for the entry of an Order approving their Confidential

  Settlement Agreement, dismissing this action with prejudice, and retaining jurisdiction to enforce

  the Confidential Settlement Agreement, and, in support state:

         1.      On April 25, 2012, the Parties formally exchanged executed copies of the

  Confidential Settlement Agreement in this above-referenced action alleging violations of the

  Americans with Disabilities Act.

         2.      The Confidential Settlement Agreement completely and fully resolves the above-

  styled action. Due to the confidential nature of the Confidential Settlement Agreement, a copy

  of the Confidential Settlement Agreement is not attached to this Joint Motion, but an electronic

  copy will be submitted to the Court’s designated electronic email address for an in camera
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  review along with a proposed Order granting this Joint Motion immediately after filing of the

  Joint Motion via CM/ECF.

         3.      Pursuant to CM/ECF 3I(6), a proposed agreed Order granting this Joint Motion is

  attached hereto as Exhibit A.

         WHEREFORE, Plaintiff, Ryan Gebauer, and Defendants, Espacio Miami Properties,

  LLC and Heather Management Corp. d/b/a Manhattan Café, respectfully request the entry of an

  Order approving the Parties’ Confidential Settlement Agreement, dismissing this action, with

  prejudice, with each party bearing its own attorney’s fees and costs, retaining jurisdiction to

  enforce the Confidential Settlement Agreement, and such further relief as this Court deems just

  and proper.

  Dated: May 2, 2012.

                                        Respectfully submitted,

                                        s/ Juancarlos Sanchez_______________________
                                        Daniel O. Mena (Florida Bar No. 059579)
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                                        Juancarlos Sanchez (Florida Bar No. 0867071)
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                                        Attorneys for Defendants

                                        s/Tal Shemtov___________________
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                                        Attorneys for Plaintiff


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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                       CASE NO. 11-62287-CIV – ZLOCH/ROSENBAUM

  RYAN GEBAUER,

         Plaintiff,

  v.

  HEATHER MANAGEMENT CORP.,
  d/b/a MANHATTAN CAFE, and
  ESPACIO MIAMI PROPERTIES, LLC,

        Defendants.
  __________________________________/

                                 CERTIFICATE OF SERVICE

          I hereby certify that on May 2, 2012, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF. I also hereby certify that the foregoing document is being
  served this day on all counsel of record or pro se parties identified on the Service List in the
  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
  or in some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.


                                                      s/ Juancarlos Sanchez         _
                                                      Juancarlos Sanchez




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                                         SERVICE LIST

                       Ryan Gebauer v. Heather Management Corp. et al
                      CASE NO. 11-62287-CIV – ZLOCH/ROSENBAUM
                     United States District Court, Southern District of Florida


  RYAN GEBAUER,

        Plaintiff,

  v.

  HEATHER MANAGEMENT CORP.,
  d/b/a MANHATTAN CAFE, and
  ESPACIO MIAMI PROPERTIES, LLC,

        Defendants.
  __________________________________/


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  Attorneys for Plaintiff
  Via CM/ECF




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